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9                              UNITED STATES DISTRICT COURT
10                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                                  WESTERN DIVISION
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       EBONY BALLARD,                              Case No. CV-20-02679 MCS (Ex)
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                  Plaintiff,
14                                                 [PROPOSED] ORDER GRANTING
                         v.                        DEFENDANT’S MOTION IN LIMINE
15                                                 TO EXCLUDE EVIDENCE RELATING
16     LOUIS DEJOY, Postmaster General of          TO THE TERMINATIONS AND/OR
       the United States of America,               DISCIPLINE OF OTHER USPS
17                                                 EMPLOYEES
                  Defendant.
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19                                                 Honorable Mark C. Scarsi
                                                   United States District Judge
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     Case 2:20-cv-02679-MCS-E Document 40-1 Filed 05/03/21 Page 2 of 2 Page ID #:1007




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2            Having considered Defendant’s Motion in Limine, the Memorandum of Points
3      and Authorities, the evidence presented therein, the Opposition and Reply briefs filed
4      thereto:
5            IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Defendant’s
6      Motion is granted and testimony regarding the termination or discipline of USPS
7      employees not involved in the present action is excluded.
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9            IT IS SO ORDERED.
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12     DATED: __________________, 2021
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16                                                  ________________________________
17                                                  HONORABLE MARK C. SCARSI
                                                    UNITED STATES DISTRICT JUDGE
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